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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JOSEPH LINDQUIST, on behalf of himself
 and all others similarly situated,            Case No. 2:23-cv-01236-KNS

       Plaintiff,
                                               CLASS ACTION
              v.
                                               JURY TRIAL DEMANDED
 NCB MANAGEMENT SERVICES, INC.,

       Defendant.


LILLIAN MARDIKIAN, on behalf of herself and
all others similarly situated,
                                                Case No. 2:23-cv-01246-KNS
      Plaintiff,

              v.                                CLASS ACTION

NCB MANAGEMENT SERVICES, INC.,                  JURY TRIAL DEMANDED

      Defendant.



ERNESTO MEDINA, individually and on behalf
of all others similarly situated,
                                                Case No. 2:23-cv-01270-KNS
      Plaintiff,

              v.                                CLASS ACTION
NCB MANAGEMENT SERVICES, INC.,                  JURY TRIAL DEMANDED
      Defendant.
         Case 2:23-cv-01246-KNS Document 12 Filed 04/26/23 Page 2 of 4




 CHRISTINE NEUBAUER, individually and
 on behalf of all others similarly situated,     Case No. 2:23-cv-01300-KNS

        Plaintiff,
                                                 CLASS ACTION
               v.
                                                 JURY TRIAL DEMANDED
 NCB MANAGEMENT SERVICES, INC.,

        Defendant.


JUDE PALMER, individually and on behalf of all
others similarly situated,
                                                  Case No. 2:23-cv-01315-KNS
       Plaintiff,

               v.                                 CLASS ACTION

NCB MANAGEMENT SERVICES, INC. and                 JURY TRIAL DEMANDED
BANK OF AMERICA CORPORATION,

       Defendants.


HOWARD SUH, individually and on behalf all
others similarly situated,

       Plaintiff,                                 Case No. 2:23-cv-01338-KNS
                v.
                                                  CLASS ACTION
NCB MANAGEMENT SERVICES, INC.,
                                                  JURY TRIAL DEMANDED
       Defendant.
          Case 2:23-cv-01246-KNS Document 12 Filed 04/26/23 Page 3 of 4




KYLIE MEYER, individually and on behalf of all
others similarly situated,                                 Case No. 2:23-cv-01340-KNS
        Plaintiff,
                                                           CLASS ACTION
                v.
                                                           JURY TRIAL DEMANDED
NCB MANAGEMENT SERVICES, INC. and
BANK OF AMERICA CORPORATION,

        Defendants.


           NCB MANAGEMENT SERVICES, INC.’S RESPONSE TO
    PLAINTIFFS’ MOTION TO CONSOLIDATE ACTIONS AND SET RELATED
      DEADLINE AND TO APPOINT INTERIM CO-LEAD CLASS COUNSEL,
  PLAINTIFFS’ LIAISON COUNSEL, AND PLAINTIFFS’ STEERING COMMITTEE

        Defendant, NCB Management Services, Inc. (“NCB”), hereby responds to Plaintiffs’

Motion and joins in the Response previously filed by Defendant, Bank of America Corporation.

NCB incorporates Bank of America’s arguments and position regarding the Plaintiffs’ Motion as

if set forth herein in this response.

                                                  Respectfully submitted,

                                                  MARSHALL DENNEHEY WARNER
                                                  COLEMAN & GOGGIN

                                           By:    /s/ David J. Shannon
                                                  David J. Shannon (PA ID. 74393)
                                                  Vlada Tasich (PA ID. 88679)
                                                  Michael A. Salvati (PA ID. 311682)
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Date: April 26, 2023                              masalvati@mdwcg.com
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of Defendant’s Response to Plaintiffs’

Motion to Consolidate Actions and Set Related Deadline and to Appoint Interim Co-Lead Class

Counsel, Plaintiffs’ Liaison Counsel and Plaintiffs’ Steering Committee was served this date, via

the court’s electronic filing system, to all counsel of record.

                                               MARSHALL DENNEHEY WARNER
                                               COLEMAN & GOGGIN


                                               By:     /s/ David J. Shannon
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